                 Case 8-23-74383-ast                Doc 20        Filed 01/09/24       Entered 01/09/24 13:30:05

                                             UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF NEW YORK
                                                              290 Federal Plaza
                                                            Central Islip, NY 117

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IN RE:                                                                                Case No. 8-23-74383-ast
Keith McNally                                                                         Chapter 13


                                                   Debtor
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                                REQUEST FOR JUDICIAL DETERMINATION
                            CONCERNING DISMISSAL PURSUANT TO 11 U.S.C. § 521(i)

The Clerk’s Office requests the Court to determine whether this case should be dismissed pursuant to 11 U.S.C. § 521(i).
The following deficiencies under 11 U.S.C. § 521(a)(1) are noted:
     Notice to Individual Debtor with Primarily Consumer Debts under 11 U.S.C. § 342(b) (Official Form 2010)
✔    Schedule A/B (Property) (Official Form 106A/B)
✔    Schedule D (Creditors Who Have Claims Secured By Property) (Official Form 106D)
✔    Schedule E/F (Creditors Who Have Unsecured Claims) (Official Form 106E/F)
✔    Schedule I (Your Income) (Official Form 106I)
 ✔   Schedule J (Your Expenses) (Official Form 106J)
     Schedule J-2 (Expenses for Separate Household of Debtor 2) (Official Form 106J-2) (if applicable)
 ✔   Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)
 ✔   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (Official Form 122C-1)
     Chapter 13 Calculation of Your Disposable Income (Official Form 122C-2)
 ✔   Copies of Pay Statements received within 60 days of filing from any employer or a statement indicating thisrequirement
     is not applicable
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NOW, THEREFORE, IT IS HEREBY ORDERED, THAT
   The Clerk’s Office is directed to dismiss this case pursuant to 11 U.S.C. § 521(i)(1).
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   The Clerk’s Office is directed not to dismiss this case pursuant to 11 U.S.C. § 521(i)(1) for the following reasons:
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   ___________________________________________________________________________________________B
